 Case 1:18-cv-00124-GJQ-RSK ECF No. 33 filed 04/23/18 PageID.241 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                          IN THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANIEL WILLIAM RUDD,
                                               Case No. 1:18-cv-124
             Plaintiff,
                                               Honorable Gordon J. Quist
v.                                             U.S. District Court Judge

CITY OF NORTON SHORES,
GARY NELUND, MARK MEYERS,
DANIEL SHAW, MATTHEW RHYNDRESS,
MICHAEL WASILEWSKI, JON GALE                             NOTICE:
CHRIS MCINTIRE, MELISSA MEYERS,                CORRECTED VERSION OF FIRST
MICHELLE MCLEAN, JOEL BAAR                    PAGE OF PLAINTIFF’S COMPLAINT
BOLHOUSE, BAAR, & HOFSTEE PC.,                   SUBMITTED TO THE CLERK
WILLIAMS HUGHES PLLC,
& DOUGLAS HUGHES

             Defendants.

Daniel William Rudd                          Rock Wood (P41181)
Pro Se Plaintiff                             MI. DEPT. OF ATTORNEY GENERAL
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Michael S. Bogren (P34835)
PLUNKETT COONEY Attorneys for                Michelle M. McLean (P71393)
Defendants: City of Norton Shores, Gary      BOLHOUSE BAAR & LEFERE PC
Nelund, Daniel Shaw, Matthew Rhyndress,      Attorneys for Defendants Melissa Meyers,
Michael Wassilewski, Mark Meyers, Jon Gale   Michelle McLean, Joel Baar and
Douglas Hughes & WILLIAMS HUGHES             BOLHOUSE, BAAR & HOFSTEE
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 Case 1:18-cv-00124-GJQ-RSK ECF No. 33 filed 04/23/18 PageID.242 Page 2 of 2



              4/23/18 NOTICE: CORRECTED VERSION OF FIRST PAGE
             OF PLAINTIFF’S COMPLAINT SUBMITTED TO THE CLERK

To the Clerk of the Court:

    This Court’s 4/20/18 order (ECF No. 32) allows for correction of an error in my original filing

with this court. The order states in pertinent part (emphasis added):

       1. The clerk shall add Jon Gale as a defendant in the electronic filing/docketing system;
       2. Attorney Michael Bogren shall be identified as counsel for Jon Gale;
       3. The responsive pleading and affirmative defenses, filed by Attorney Bogren on 3/5/18
       (ECF No. 9), shall be deemed an answer which was timely filed on behalf of Jon Gale.
       4. Plaintiff will provide the clerk with a corrected version of the first page of his
       complaint (ECF No. 1 at PageID.1.) listing Jon Gale as a Defendant in the caption.
       5. The parties will list Jon Gale as a Defendant in the caption of future filings.


    Pursuant to ¶4 of this order, I am now providing a corrected version of the first page of my

original complaint (ECF No. 1 at PageID.1.). The corrected version adds Chief Jon Gale’s name

to the list of Defendants and has been submitted along with this notice.

    Please accept my apologies for the inconvenience of correcting this error in the docketing

system and the court files. If you need anything further or different from me, please let me know.




   Respectfully submitted on 4/19/18:


                                              /s/ Daniel William Rudd
                                              Daniel William Rudd, Plaintiff (Pro Se)
                                              201 S Lake Ave. Spring Lake, MI 49456
                                              (231) 557-2532 daniel@stock20.com




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